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CIVIL COVER SHEET

JS 44 (Rev. 12/12)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Barteca Restaurants, LLC and Barcelona Restaurant Group LLC

(b) County of Residence of First Listed Plaintiff Fairfield
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Joseph G. Fortner, Jr.
Halloran & Sage LLP

225 Asylum Street, Hartford, CT 06103, (860) 522-6103

DEFENDANTS

THE TRACT

Attorneys (If Known)

 

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

Milonga Arepas & Tapas, Inc. dba Barcelona Wine & Tapas

Westchester

 

Il. BASIS OF JURISDICTION (Piace an "x" in One Box Only)

 

 

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only} and One Box for Defendant)
G1. US. Government 333° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 O 1 Incorporated or Principal Place go4 a4
of Business In This State
0 2. U.S. Government 0 4 Diversity Citizen of Another State 0 2  O 2 Incorporated and Principal Place o5 a5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a G3 O 3. Foreign Nation go6 06
Foreign Country
IV. NATURE OF SUIT (Place an "X” in One Box Only)
(CONTRACT TORTS FORFEITURE/PENALTY | BANKRUPTCY "OTHER STATUTES]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 1 375 False Claims Act
G 120 Marine 6G 310 Airplane © 365 Personal Injury - of Property 21 USC 881 {0 423 Withdrawal © 400 State Reapportionment
O 130 Miller Act O 315 Airplane Product Product Liability 0 690 Other 28 USC 157 6 410 Antitrust
O 140 Negotiable Instrument Liability 0 367 Health Care/ 0 430 Banks and Banking
GC 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 460 Deportation
OG 151 Medicare Act 0 330 Federal Employers’ Product Liability J 830 Patent © 470 Racketeer Influenced and
© 152 Recovery of Defaulted Liability 0) 368 Asbestos Personal 3% 840 Trademark Corrupt Organizations
Student Loans C3 340 Marine Injury Product O 480 Consumer Credit
(Excludes Veterans) O 345 Marine Product Liability |G 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0 710 Fair Labor Standards 0 861 HIA (1395ff) © 850 Securities/Commodities/
of Veteran’s Benefits OG 350 Motor Vehicle 0 370 Other Fraud Act O 862 Black Lung (923) Exchange
6 160 Stockholders’ Suits C355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Management 0 863 DIWC/DIWW (405(g)) | 0 890 Other Statutory Actions
6 190 Other Contract Product Liability © 380 Other Personal Relations O 864 SSID Title XVI O 891 Agricultural Acts
6 195 Contract Product Liability | 360 Other Personal Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) © 893 Environmental Matters
0 196 Franchise Injury O 385 Property Damage 0 751 Family and Medical O 895 Freedom of Information
0 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 0 790 Other Labor Litigation O 896 Arbitration
CIVIL RIGHTS O 791 Employee Retirement OF 899 Administrative Procedure
0 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
6 220 Foreclosure 0 441 Voting © 463 Alien Detainee or Defendant) Agency Decision
6 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party C1 950 Constitutionality of
O 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 State Statutes
0 245 Tort Product Liability Accommodations © 530 General
6 290 All Other Real Property 0 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION
Employment Other: O 462 Naturalization Application
CO) 446 Amer. w/Disabilities -] 540 Mandamus & Other [0 465 Other Immigration
Other GO 550 Civil Rights Actions
O 448 Education © 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
¥41 Original 02 Removed from O 3 Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
‘speci

 

VI. CAUSE OF ACTION

VIL. REQUESTED IN

 

Cite the U.S. Civil Statute under which
28 U.S.C. Section 1338 and 28
Brief description of cause:
Trademark Infringement

a CHECK IF THIS IS A CLASS ACTION

DEMAND $

ye are filing (Do not cite jurisdictional statutes unless diversity):
.S.C. Section 133

CHECK YES only if demanded in complaint:

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: @ Yes ONo
VIII. RELATED CASE(S) a
IF ANY (See instructions): DOCKET NUMBER

 

DATE yy 2 Ww ly

 

 

 

FOR OFFICE USE ONLY
RECEIPT #

AMOUNT

an

APPLYING IFP

JUDGE

MAG. JUDGE
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

JURY TRIAL DEMANDED
BARTECA RESTAURANTS, LLC, AND
BARCELONA RESTAURANT GROUP

—— eee

LLC
Plaintiffs ) CIVIL ACTION
) NO.
vs. )
)
MILONGA AREPAS & TAPAS, INC.., )
DBA BARCELONA WINE & TAPAS )
)
Defendant ) MAY 2, 2014
COMPLAINT

Plaintiffs Barteca Restaurants, LLC (“Barteca”) and Barcelona Restaurant Group
LLC (“Barcelona”), as and for their complaint against the Defendant, hereby shows and
alleges as follows:

1. Plaintiff Barteca is a limited liability company organized and existing by
virtue of the laws of the State of Connecticut, with principal place of business at 22
Elizabeth Street, South Norwalk, Connecticut.

2. Plaintiff Barcelona is a limited liability company organized and existing by
virtue of the laws of the State of Connecticut, with principal place of business at 22
Elizabeth Street, South Norwalk, Connecticut.

3. Defendant Milonga Arepas & Tapas, Inc. (“Milonga”), is a New York
Corporation, with principal place of business at 74 Mamaroneck Avenue, White Plains,
New York.

4. Milonga is doing business as “Barcelona Wine & Tapas” at its location at

74 Mamaroneck Avenue, White Plains, New York.

14944.0024

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

BARTECA RESTAURANTS, LLC, AND
BARCELONA RESTAURANT GROUP

LLC
Plaintiffs ) CIVIL ACTION
) NO.
VS. )
)
MILONGA AREPAS & TAPAS, INC., )
DBA BARCELONA WINE & TAPAS )
)
Defendant ) MAY 2, 2014
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JURISDICTION AND VENUE

5. Jurisdiction is proper in this Court by virtue of 28 U.S.C. § 1338, as the
action arises under an Act of Congress relating to trademarks; and by virtue of 28
U.S.C. § 1331, as these actions arise under the Constitution, laws, or treaties of the
United States.

6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as the action
is brought in a judicial district in which a substantial part of the events giving rise to the
claim occurred.

EACTS COMMON TO ALL COUNTS
Barcelona Restaurant & Wine Bar
7. Since 1995, Plaintiff Barcelona has owned and operated highly renowned

restaurants under the name “Barcelona Restaurant & Wine Bar.”

8. Barcelona’s restaurants are often referred to as “barcelona” or
“Barcelona.”
9. Plaintiff Barteca owns the mark “barcelona,” and has filed with the United

States Patent & Trademark Office an application for registration of the mark “barcelona.”
This application, Serial No. 77819187, has been determined to be entitled to
registration.

10. Plaintiffs Barteca and Barcelona own the rights to the marks “barcelona,”
“Barcelona,” “Barcelona Restaurant & Wine Bar,” and other marks associated with the
Barcelona Restaurants.

11. Barcelona’s restaurants offer high quality cuisine, award-winning wines,

and a unique dining experience in a distinctive, casual, yet sophisticated environment.

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The cuisine offered —a Mediterranean style which emphasizes tapas — includes small
appetizers or snacks that are ordered and combined to make a full meal. The menu
includes simple, flavor-filled dishes redolent with olive oil, lemon, smoky paprika, with a
comprehensive wine list emphasizing lesser-known regions of Spain and Portugal.
Menus vary by restaurant location, and offerings include meats, cheeses, a wide variety
of tapas, fish, paella, various grilled items, brunch items, and desserts.

12. Barcelona’s restaurants also include an expansive wine list, with wines of
Spain, Portugal, and other countries. Its wine selection has been the subject of
numerous articles, and has received awards from the Wine Spectator and Wine
Enthusiast.

13. Barcelona opened its first restaurant in South Norwalk, Connecticut in
1995. Since then, it has expanded to include Barcelona restaurants in West Hartford,
Fairfield, Greenwich, New Haven, and Stamford, Connecticut, and in Brookline
Massachusetts, Atlanta, Georgia, and Washington, D.C.

14. | Barcelona’s Greenwich, Connecticut restaurant was opened in 2001.

15. | Barcelona’s Stamford, Connecticut restaurant was opened in 2009.

16. Barcelona’s South Norwalk, Greenwich, and Stamford restaurants are all
located within 20 miles of the Defendant's restaurant, and the Greenwich restaurant is
within 8 miles of Defendant's restaurant.

17. Since at least 2003, Barcelona has promoted its restaurants and services
through its internet website, located at www.barcelonawinebar.com.

18. For well over 15 years, Barcelona’s restaurants, ambience, cuisine and

wine selections have been promoted nationally. Barcelona’s restaurants have been

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advertised, reviewed and received comments on a national basis, including in such
national publications as The Boston Globe, Atlanta, Wine Enthusiast, Wine Spectator,
American Way, Travel + Leisure, knife & fork, and Food & Arts, and The New York
Times. |t was recently highlighted as a “Breakout Brand” by Restaurant News.
Applicant's services have the subject of reviews and articles on-line in such publications
as The Boston Globe, Maxxlife, Wine Enthusiast, Atlanta, Urban Daddy, and others.
Barcelona has been the subject of broadcast advertising since 2002 on numerous radio
stations, and is used for promotion by public relations professionals at Plaintiffs
direction on a daily basis.

19. Barcelona has also been the subject of articles in newspapers,
magazines, and on-line periodicals in, and has directed a substantial portion of its
advertising to, the New York/Connecticut region, including Westchester County. In
particular, it has been highlighted by Connecticut magazine, Greenwich magazine,
Westchester magazine, the Food Lovers Guide to Connecticut, Stamford magazine,
and the New York Times.

20. In addition, Barcelona has published The Barcelona Cookbook, which
features stories of its restaurants. This has been sold in bookstores across the United
States and on-line by Andrews McMeel Publishing.

21. Plaintiffs have invested over 15 years of effort, and substantial financial
resources, building and developing the Barcelona brand, name, and good will, and
have, as a result, developed a strong and well-recognized mark for their restaurants

bearing the name “Barcelona.” That name, and the marks associated with the

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restaurants, are well known for high quality cuisine (including tapas), a friendly, relaxed
atmosphere, and extraordinary wines.

22. By virtue of the foregoing, Plaintiffs have established the right to
exclusively use the marks “Barcelona,” “barcelona,” and “Barcelona Restaurant & Wine
Bar” (the “BARCELONA Marks’) for their style of restaurants and cuisine, especially
established in the New York, Connecticut and adjoining areas.

Barcelona Wine & Tapas (White Plains)

23. Defendant was first formed on or about May 31, 2011.

24. | Upon information and belief, Defendant operated a restaurant under the
name “Milonga Arepas & Tapas Grill,” at 74 Mamaroneck Avenue in White Plains (the
“White Plains Location”), from some time after it was formed until some time in 2014.

25. The White Plains Location is less than 20 miles from three of Plaintiffs’
Barcelona restaurants, and less than nine miles from one of Plaintiffs’ restaurants.

26. Ona date during 2014, Milonga changed the name of its restaurant, and
started to do business under the name “Barcelona Wine & Tapas’ (hereinafter,
“Barcelona WP”) at the same White Plains Location.

27. Barcelona WP promotes itself out as a “wine and tapas restaurant.” It
claims to offer “traditional spaniard [sic] tapas, paellas, wine, and sangria,” and includes
a menu with a strong emphasis on tapas.

28. Barcelona WP has registered and uses the Internet domain name,

www.barcelonawhiteplains.com.

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29. Barcelona WP, further, has chosen as a font used prominently (on its
website and otherwise) a distinctive font which Barcelona has used for its own menus
and promotions.

30. In addition, Barcelona WP has created a Facebook page which promotes
the restaurant as “Barcelona Wine & Tapas.”

31. Barcelona WP also promotes itself using Instagram, under the name
“Barcelona Wine & Tapas.”

Confusion

32. |The Defendant's use of the mark “Barcelona,” and its adoption of the
name “Barcelona Wine & Tapas’ for its restaurant, is likely to cause consumer
confusion regarding affiliation, source and sponsorship with respect to the well-
established, strong BARCELONA Marks.

33. | Defendant’s use of the infringing marks “Barcelona” and “Barcelona Wine
& Tapas” has already caused actual consumer confusion. !n particular, in numerous
instances, customers of the Plaintiffs’ Barcelona restaurants have inquired of the staff
whether Barcelona has opened a restaurant at the White Plains Location. In addition,
on-line blogs have reflected consumer confusion.

34. Given the well-established nature of the BARCELONA Marks, and their
renown, there can be no reason why Defendant chose to change the name of its
restaurant from Milonga Arepas & Tapas Grill to “Barcelona Wine & Tapas,” for a
restaurant within 20 miles of three of Plaintiffs’ Barcelona restaurants, except to cause
consumer confusion, and to trade on the good will and reputation of Plaintiffs’

restaurants and of the BARCELONA Marks. By misappropriating and using without

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authorization the BARCELONA Marks, and Barcelona’s name and style, and by
creating a website using a domain name confusingly similar to the BARCELONA Marks
and Barcelona’s domain name, using photographs, text and menus confusingly similar
to that of Barcelona, Defendant clearly seeks to cause confusion regarding its affiliation
with Barcelona, to misappropriate Plaintiffs’ good will and intellectual property, to
misdirect consumers looking for the Barcelona's restaurants, and to deceive
consumers, and Defendant has already succeeded in doing so.

Efforts to Prevent Further Infringement.

35. Shortly after Plaintiffs first became aware of the Defendant's infringing and
deceptive actions, Plaintiffs wrote to Defendant, demanding that it cease from using the
infringing and deceptive marks and website.

36. Although the aforementioned communication was sent on April 11, 2014,
Defendant has continued its infringing and deceptive use of “Barcelona,” “Barcelona
Wine & Tapas,” and the domain name www.barcelonawhiteplains.com, for its wine and
tapas restaurant located in White Plains, New York.

COUNT ONE: INFRINGEMENT OF TRADEMARK

1.-36. Plaintiffs repeat, reiterate and reallege each and every allegation set forth
in paragraphs 1 through 36, inclusive, with the same force and effect as if set forth in full
herein.

37. Plaintiffs have used and continues to use their distinctive marks, including
but not limited to the BARCELONA Marks and domain name, in trade and commerce,
for the purpose of identifying the Barcelona restaurants, services and products to

current and potential consumers and customers. Plaintiffs have prominently used the

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BARCELONA Marks, advertised them in commerce, and used them in promotional
literature and online to promote their services and restaurants, and to identify their
establishments to customers.

38. Plaintiffs have, moreover, established strong recognition of the
BARCELONA Marks as a source identifier to the Plaintiffs.

39. |The BARCELONA Marks are inherently distinctive when used in
connection with Plaintiffs’ restaurants, services and goods, especially in the areas of
Connecticut, New York, Westchester County and surrounding areas, and in addition,
through their use, they have acquired secondary meaning to restaurant and wine
establishment consumers on a national basis.

40. In addition, by virtue of Plaintiffs’ long and consistent use of the
BARCELONA Marks for the purpose of promoting and identifying their restaurants,
services and goods, the BARCELONA Marks have developed a distinctive trademark
meaning to purchasers and prospective purchasers of Plaintiffs’ services, and have
come to indicate to such consumers a distinct restaurant and its offerings, originating
only with Plaintiffs.

41. By virtue of the above, purchasers and the public associate the
BARCELONA Marks with the Plaintiffs.

42. The Defendant's use in interstate commerce of the confusingly similar
terms “Barcelona” and “Barcelona Wine & Tapas,” and the internet domain name
www.barcelonawhiteplains.com,” as identifiers and for the promotion and operation of
its restaurant, offering the same cuisine as Plaintiffs’ within less than 20 miles of three of

the Barcelona restaurants, is designed and intended to, is likely to cause, and has

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caused, confusion or mistake to purchasers, potential purchasers, and to the public as
to whether the Defendant is from the same source, is affiliated with, is connected with,
or is approved by, the Plaintiffs.

43. Defendant's use of the aforementioned confusingly similar marks and
domain name is, further, a false or misleading description or representation of fact,
which is likely to cause confusion, cause mistake or to deceive consumers, potential
consumers and the public as to Defendant’s affiliation, connection, or association with
Plaintiffs, or as to the origin, sponsorship or approval of Defendant’s services and
commercial activities with respect to the Plaintiffs.

44. The Defendant has used and is using the aforementioned infringing marks
in interstate commerce in a way which is designed to cause, is intended to cause, and
has caused a likelihood of confusion or to cause mistake for actual or potential
consumers, has been and is being done without the permission or authority of Plaintiffs,
and in fact is continuing to use such marks despite the demand by Plaintiffs that
Defendant cease such infringing and unlawful use.

45. The acts of the Defendant, as set forth above, constitute unfair
competition and infringement of Plaintiffs’ rights in the BARCELONA Marks, in violation
of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and such acts have been
done with the intent and effect of causing confusion, mistake and to deceive.

46. Asaresult of the conduct of the Defendant, Plaintiffs have suffered or will
suffer monetary harm and other damages.

47. Defendant's actions are egregious, intentional and willful, and as a result,

this is an exceptional case.

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48. Asaresult of the conduct of the Defendant, Plaintiffs have been and will in

the future be irreparably harmed, and have no adequate remedy at law.
COUNT TWO: PASSING OFF

1-48. Plaintiffs repeat, reiterate and reaillege each and every allegation set forth
in paragraphs 1 through 48, inclusive, with the same force and effect as if set forth in full
herein.

49. The Defendant is using its confusingly similar marks and domain name, as
outlined above, and has engaged in business and marketing practices, with the intent
and for the purpose of misrepresenting the source, origin, or affiliation of Defendant’s
competing services, and has done so with the intent of deceiving and causing confusion
in customers and potential customers.

50. As part of the foregoing, Defendant has misled or attempted to mislead
customers concerning an affiliation with or relationship to the well-established Barcelona
restaurants owned and operated by Plaintiffs, using terms and a domain name, a style,
and a menu, which are the same as or confusingly similar to those of Plaintiffs, in a
location near Plaintiffs’ restaurants, for the purpose of misappropriating the goodwill of
the Plaintiffs and passing itself off as being the Plaintiffs, being affiliated with the
Plaintiffs, or being approved by the Plaintiffs.

51. Defendant's unauthorized use of confusingly similar marks, menus, and
styles, as outlined above, its use of its deceptive web address, and its other deceptive
practices, including those outlined above, all within 20 miles of three of Plaintiffs’
restaurants, are intended to cause consumers to believe, and have caused consumers

to believe, that the Defendant’s restaurant is part of Plaintiffs’ Barcelona group of

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restaurants, or is affiliated or approved by the Plaintiffs, and constitute an effort to
intentionally mislead or deceive purchasers or potential purchasers.

52. Defendants’ actions, as set forth above, are in violation of Lanham Act
Section 43(a), 25 U.S.C. § 1125(a).

53. As aresult of the conduct of the Defendant, Plaintiffs have suffered or will
suffer monetary harm and damages.

54. Defendant's actions are egregious, intentional and willful, and as a result,
this is an exceptional case.

55. Asa result of the conduct of the Defendant, Plaintiffs have also been and
will in the future be irreparably harmed, and have no adequate remedy at law.

COUNT THREE: TARNISHMENT

1.-55. Plaintiffs repeat, reiterate and reallege each and every allegation set forth
in paragraphs 1 through 55, inclusive, with the same force and effect as if set forth in full
herein.

56. Unlike Plaintiffs’ Barcelona restaurants, Defendant's Barcelona WP
restaurant is a smail, crowded, and minimalesque establishment. It does not have the
ambiance, the quality, and sophistication of Plaintiffs’ restaurants that would reflect to
clientele the kind of cuisine and wines that are available at Plaintiffs’ restaurants.
Instead, Defendant’s restaurant has the feel of a small, marginal restaurant, and its
limited menu and wine list are substantially inferior in scope, quality, and character as
compared to those of the Plaintiffs.

57. By virtue of Defendant’s unauthorized use of its confusingly similar terms

and marks for its restaurant and its domain name, customers confused or uncertain as

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to whether Defendant is affiliated or connected with the Plaintiffs may come to believe
that Plaintiffs’ “Barcelona Restaurant” name, the BARCELONA Marks, and the Plaintiffs’
restaurants are no longer exclusively associated with the high quality, sophisticated
dining establishment and experience which Plaintiffs have worked hard to develop.
Instead, consumers may believe that the Plaintiffs are now operating or affiliated with a
second-rate, limited restaurant and bar.

58. By virtue of the foregoing, Plaintiffs’ decades-long work and investments in
establishing their reputation, the value of the BARCELONA Marks, and the good will
which has been developed, have been and will be damaged and tarnished, and
Plaintiffs’ reputation substantially damaged.

59. The foregoing has caused and is likely to cause the Plaintiffs monetary
harm and damages.

60. Asa result of the foregoing, Plaintiffs have also been and will in the future
be irreparably harmed, and have no adequate remedy at law.

COUNT FOUR: UNFAIR COMPETITION

1.-60. Plaintiffs repeat, reiterate and reallege each and every allegation set forth
in paragraphs 1 through 60, inclusive, with the same force and effect as if set forth in full
herein.

61. By reason of the acts set forth above, Defendant has engaged and
continues to engage in unfair methods of competition and unfair and deceptive acts or
practices in its conduct of trade or commerce in interstate commerce.

62. The unlawful acts engaged in by Defendant constitute unfair competition

under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

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63. Defendant has engaged in the aforementioned unfair methods of
competition with the intent of deceiving the public and purchasers, and such acts were
done with the intent to pass off and palm off Defendant's restaurant and services as
those of the Plaintiffs, with intent to deceive and defraud the public.

64. Asaresult of Defendant's conduct, Plaintiffs have sustained or will in the
future sustain substantial damages.

65. Defendant's actions are egregious, intentional and willful, and as a result,
this is an exceptional case.

66. In addition, as a result of Defendant's conduct, Plaintiffs have or will
sustain irreparable harm for which there is no adequate remedy at law.

COUNT FIVE: CYBERSQUATTING

1.-66. Plaintiffs repeat, reiterate and reallege each and every allegation set forth
in paragraphs 1 through 66, inclusive, with the same force and effect as if set forth in full
herein.

67. Defendant has registered and is using the domain name
http://www. barcelonawhiteplains.com.

68. The aforementioned domain name is confusingly similar to the domain
name (www.barcelonawinebar.com) and marks which are owned and have been used
for over ten years by the Plaintiffs.

69. The Defendant has registered and used the infringing domain name in

commerce.

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70. =‘ The Plaintiffs’ marks, including the BARCELONA Marks and the
www.barcelonawinebar.com domain name, were distinctive at the time of the
Defendant’s wrongful registration of its domain name.

71. |The Defendant committed the acts set forth above with a bad faith intent
to profit from the Plaintiffs’ marks, as the domain name registered by the Defendant is
clearly intended to be confusingly similar to that of the Plaintiffs, and thus is designed to
mislead and misdirect consumers.

72. By virtue of the foregoing, Defendant is in violation of the Anti-
Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d).

73. As aresult of Defendant’s conduct, Plaintiffs have sustained or will in the
future sustain substantial damages.

74. In addition, as a result of Defendant’s conduct, Plaintiffs have or will
sustain irreparable harm for which there is no adequate remedy at law.

COUNT SIX:
VIOLATION OF CONNECTICUT UNFAIR TRADE PRACTICES ACT

1.-74. Plaintiffs repeat, reiterate and reallege each and every allegation set forth
in paragraphs 1 through 74, inclusive, with the same force and effect as if set forth in full
herein.

75. The Defendant's actions, as set forth above, constitute unfair and
deceptive methods of competition and unfair or deceptive acts or practices in the
conduct of the Defendant’s trade or commerce.

76. The Defendant’s conduct, as set forth above, occurred in the course of its

trade or commerce, as it occurred in the course of its competitive activities in the area of

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tapas and Mediterranean style restaurants in the Westchester County/Southern
Connecticut region.

77. |The Defendant’s conduct, as set forth above, is in violation of and offends
public policy, as it is in violation of Federal statutes, is unfair and deceptive, and is
unethical, immoral, and unscrupulous.

78. By virtue of the Defendant’s unfair and deceptive practices, as set forth
above, Plaintiffs have suffered ascertainable loss of money and property, including
infringement of and damage to the BARCELONA Marks, consumer confusion, damage
to and loss of goodwill, damage to its reputation, and other monetary and irreparable
harm.

79. By virtue of the foregoing, the Defendant has engaged in unfair and
deceptive acts or practices, in violation of the Connecticut Unfair Trade Practices Act,
Conn. Gen. Stat. § 42-110a, et seq.

80. _By virtue of the foregoing, the Defendant is liable for all damages, losses,
and economic harm sustained by the Plaintiffs by virtue of the Defendant’s unfair and
deceptive acts and practices.

81. By virtue of the foregoing, the Defendant is liable to Plaintiffs for attorney's

fees and costs, as well as for punitive damages, pursuant to C.G.S. § 42-110g(d).

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WHEREFORE, Plaintiffs pray that the Court grant the following relief against the
Defendant:
A. On Counts One, Two, Three, and Four:

i. That the Plaintiffs be awarded damages against the Defendant for
their actual losses incurred as a result of the Defendant's acts;

ii. That the Defendant be ordered to disgorge all of its profits which
result, in whole or in part, from its wrongful conduct;

ili. That the Plaintiffs be awarded their attorneys fees and costs;

iv. That the Plaintiffs be awarded punitive damages;

V. That the Defendant, and ali persons or entities acting in concert
with the Defendant, be preliminarily and permanently enjoined from committing
any acts, continuing its acts, or committing any further acts of infringement,
passing off, tarnishment, or unfair competition, including but not limited to:

a. By being enjoined against use or incorporation of the word
“Barcelona,” any other term or word (or combination of words) that
is confusingly similar to any the BARCELONA Marks, or any
variation of such words or terms, in connection with any restaurant,
bar, or related services,

b. By being enjoined against any activity or statements which state,
imply or convey that the Defendant is any way affiliated with,
sponsored by, associated with, or connected with the Plaintiffs or

with Plaintiffs’ Barcelona Restaurants; and

Cc. By being enjoined against any activity or statements which are
likely to cause consumer confusion.

vi. That the Plaintiffs be awarded such other and further relief as may

to the Court be just and proper.

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B. On Count Five

i. That the Plaintiff be awarded damages against the Defendant for its
actual losses incurred as a result of the Defendant's acts;

ii. That the Defendant be ordered to disgorge all of its profits which
result, in whole or in part, from its wrongful conduct;

iii. That the Plaintiffs be awarded their attorneys fees and costs;

iv. That the Plaintiffs be awarded punitive damages;

V. That the Defendant, and all persons or entities acting in concert
with the Defendant, be preliminarily and permanently enjoined to immediately
transfer and assign to Plaintiffs the Internet domain name
www.barcelonawhiteplains.com;

vi. That the Defendant, and all persons or entities acting in concert
with the Defendant, be preliminarily and permanently enjoined from registering or
using any Internet domain name which is confusingly to any of the BARCELONA
Marks, or any domain name used or operated by the Plaintiffs.

vii. | That the Plaintiffs be awarded such other and further relief as may
to the Court be just and proper.

Cc. On Count Six

i. That the Plaintiffs be awarded damages against the Defendant for
all losses and damages resulting from the Defendants’ unfair and deceptive acts
and practices;

ii. That the Defendant be ordered to disgorge all of tis profits which

result, in whole or in part, from its wrongful conduct;

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ili. That the Plaintiffs be awarded punitive damages;

iv. That the Plaintiffs be awarded attorneys fees and costs;

V. That the Defendant be preliminarily and permanently enjoined from
any further unfair and deceptive acts or practices; and

vi. That the Plaintiffs be awarded such other and further relief as may

to the Court be just and proper.

   

 

Dated: Hartford, Connecticut
May 2, 2014
Respectfully submitted,
THE PLAINTIFFS
BARTECA RESTAURANTS, LLC AND
BARCELONA RESTAURANT GROUP
Hartford, CT 06103
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